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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION

UNITED STATES OF AMERICA,                     CR 20-67-GF-BMM

              Plaintiff,

       vs.                                    ORDER

MARK ALLEN HILL,

              Defendant.



      THIS MATTER comes before the Court on the United States’ Unopposed

Motion for Preliminary Order of Forfeiture. The Court having read the Motion, the

Brief in Support, and being fully advised in the matter, FINDS:

      THAT the Defendant pled guilty to Count I of the Indictment, which

provides a factual basis and cause to issue a forfeiture order forfeiting the currency

described in the Indictment under 18 U.S.C. §§ 981(a)(1)(C), 1956(c)(7)(F), and

24(a)(2).

      THEREFORE, IT IS ORDERED:

      THAT Defendant’s interest in the following property is forfeited to the

United States in accordance with 18 U.S.C. § 981(a)(1)(C): a personal money

judgment in the amount of $124,900 in United States currency; and




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      THAT because Fed. R. Crim. P. Rule 32.2(c)(1) provides that “no ancillary

proceeding is required to the extent that the forfeiture consists of a money

judgment,” this order shall be made final as to the Defendant at the time of

sentencing.

      DATED this 5th day of May, 2021.




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